986 F.2d 546
    300 U.S.App.D.C. 83
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Theodore S. WILKINSON, Appellant,v.Rosalie F. WILKINSON.
    No. 92-7071.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 6, 1993.
    
      Before SILBERMAN, BUCKLEY and KAREN LeCRAFT HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion to hold appeal in abeyance, and the opposition thereto;  the motion for summary affirmance, the opposition thereto, and the reply, it is
    
    
      2
      ORDERED that the motion to hold in abeyance be denied.   Appellant has not shown that Congress is currently considering pending legislation which would affect this appeal.   It is
    
    
      3
      FURTHER ORDERED that the motion for summary affirmance be granted substantially for the reasons stated by the district court in its Memorandum Opinion and Order, filed March 13, 1992.   The merits of the parties' positions are so clear as to warrant summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    